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2                               UNITED STATES DISTRICT COURT
3                                       DISTRICT OF NEVADA
4

5

6    UNITED STATES OF AMERICA,                  )
                                                )
7
                       Plaintiff,               )              Case No.: 2:10-cr-00579-GMN-NJK
8          vs.                                  )
                                                )                          ORDER
9    Corneliu Weikum and Yulia Mishina-Heffron, )                        (ECF No. 143)
                                                )
10
                       Defendants.              )
11                                              )

12           Pending before the Court is the United States’ Motion to Dismiss (ECF No. 143) the
13   Third-Party Claims of William Geisler (ECF No. 117) and James Balger (ECF No. 102). Mr.
14   William Geisler filed a Response (ECF No. 147), and the United States filed a Reply (ECF No.
15   149).
16           The Court finds that Third-Party Claimants William Geisler and James Balger have
17   failed to demonstrate they have standing to file a claim pursuant to 21 U.S.C. § 853(n)(2).
18           Third-Party Claimants William Geisler and James Balger will be able to participate in
19   the restoration process, since it appears that both claimants may be entitled to the benefit of
20   partial restoration by virtue of them being named victims in the restitution component of the
21   Judgment and Commitment Order.
22           Accordingly,
23           IT IS HEREBY ORDERED that the United States’ Motion to Dismiss (ECF No. 143)
24   the Third-Party Claims of William Geisler (ECF No. 117) and James Balger (ECF No. 102) is
25   GRANTED.


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1          IT IS FURTHER ORDERED that the Motions/Petitions of both Third-Party Claimants
2    William Geisler (ECF No. 117) and James Balger (ECF No. 102) are DISMISSED without
3    prejudice.
4          DATED this 18th day of June, 2014.
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7                                               Gloria M. Navarro, Chief Judge
                                                United States District Judge
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